     Case 3:21-cr-02627-CAB Document 21 Filed 01/31/22 PageID.61 Page 1 of 4




 1   CUAUHTEMOC ORTEGA (Bar No. 257443)
     Federal Public Defender
 2   ELENA SADOWSKY (Bar No. 302053)
     CHRISTY O’CONNOR (Bar No. 250350)
 3   Deputy Federal Public Defenders
     321 East 2nd Street
 4   Los Angeles, CA 90012
     Telephone: (213) 894-2644
 5   Facsimile: (213) 894-0081
 6   Attorneys for Defendant
     Matthew Taylor Coleman
 7
                            UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                         Case No. 21-cr-2627-CAB
11                Plaintiff,
12         v.                                          JOINT MOTION TO CONTINUE
                                                       STATUS HEARING
13
     MATTHEW TAYLOR COLEMAN,                           Date: February 3, 2022
14                                                     Time: 9:30 a.m.
                  Defendant.
15
16
           The United States of America and defendant MATTHEW TAYLOR
17
     COLEMAN jointly move to continue the status hearing from February 3, 2022, at 9:30
18
     a.m. to May 19, 2022 at 9:30 a.m. or to a date and time convenient to the court in May
19
     2022. In support of this motion, the parties state the following:
20
     I.    Discovery Productions
21
           There have been four discovery productions thus far. The first three consist of
22
     about 560.5 gigabytes of data, including reports by state and federal agencies and
23
     Mexican law enforcement, audio and video recordings (including body camera
24
     recordings, recordings of activity at the San Ysidro Port of Entry, recordings of or from
25
     the area where K.C.’s and R.C.’s bodies were recovered, and jail calls), transcripts,
26
     photographs, subpoenaed records, legal pleadings, and cell site data.
27
28
                                                   1
     Case 3:21-cr-02627-CAB Document 21 Filed 01/31/22 PageID.62 Page 2 of 4




 1         The fourth and most recent discovery production contains the most data by far.
 2   On November 4, 2021, the government produced and delivered to the defense a hard
 3   drive containing the mirrored drives for four digital devices: an iPhone, iPad, and
 4   computer purportedly belonging to Matthew Coleman, and an iPhone purportedly
 5   belonging to Abigail Coleman. On November 17, 2021, the defense requested from the
 6   government the raw image files of the Cellebrite extraction and devices images so that
 7   the data would be compatible with the programs used by the defense for review and
 8   analysis. On December 3, 2021, a drive containing those raw images were delivered to
 9   the defense. In total, the four digital devices contain approximately one terabyte1 of
10   information. Since December 3, the defense has begun but not completed its review and
11   analysis of that data.
12   II.   The Defense’s Ongoing Investigative Efforts
13         The defense has been working diligently to gather information, including through
14   records collection and witness interviews, in preparation for the Department of Justice’s
15   death penalty protocol, the procedural steps to which the United States Attorneys and
16   Main Justice adhere in considering whether the death penalty should be sought, and in
17   preparation for trial in this case. One aspect of the death penalty protocol is
18   opportunities for the defense to present mitigating information to the U.S. Attorney’s
19   Office and Main Justice. The defense tentatively expects it will have sufficient
20   information and have conducted sufficient investigation to make that presentation to the
21   U.S. Attorney’s Office in June 2022.
22
23
24
25         1
              One terabyte is roughly equivalent to 728,177 floppy disks, or 1,498 CD-ROM
     discs of storage. https://www.lifewire.com/terabytes-gigabytes-amp-petabytes-how-big-
26
     are-they-4125169 (last accessed January 28, 2022). Put another way, a terabyte equals
27   about 6.5 million document pages, or 1,300 physical filing cabinets of paper.
     https://experience.dropbox.com/resources/how-much-is-1tb (last accessed January 28,
28
     2022).
                                                   2
     Case 3:21-cr-02627-CAB Document 21 Filed 01/31/22 PageID.63 Page 3 of 4




 1          Since roughly mid-to-late December, however, a surge of COVID-19 cases in the
 2   Central District, largely due to the Omicron variant 2, has affected the defense’s ability
 3   to conduct in-person investigative tasks. With the exception of client visits, the defense
 4   team has suspended in-person investigative efforts until the Omicron surge subsides
 5   and it is safe to proceed.
 6   III.   The Parties’ Continuance Request
 7          Mr. Coleman is charged with foreign first-degree murder of United States
 8   nationals, in violation of 18 U.S.C. §§ 1119 and 1111. He made his initial appearance
 9   in the Central District on August 11, 2021, case no. 21-mj-03722, and first appeared in
10   this District on September 29, 2021. On November 1, 2021, the Court granted the
11   parties’ joint motion to continue the motions hearing and trial setting from November 5,
12   2021, to May 19, 2022. The Court also set a status hearing for February 3, 2022, at 9:30
13   a.m. The parties now move to continue the February 3, 2022, status hearing to May 19,
14   2022, or to a date and time that is convenient with the Court. The order entered on
15   October 29, 2021, excluded the time within which the trial must commence under the
16   Speedy Trial Act through May 19, 2022.
17
18                                           Respectfully submitted,
19                                           CUAUHTEMOC ORTEGA
                                             Federal Public Defender
20
21
     DATED: January 31, 2022                 By /s/ Christy O’Connor
22                                           CUAUHTEMOC ORTEGA
23                                           Federal Public Defender
                                             CHRISTY O’CONNOR
24                                           ELENA SADOWSKY
                                             Deputy Federal Public Defenders
25                                           Attorneys for Matthew Taylor Coleman

26
27          2
              See, e.g., Order of the Chief Judge 22-001 (Temporary Suspension of Jury
     Trials), Order of the Chief Judge 22-002 (Extension of the Temporary Suspension of
28   Jury Trials). http://www.cacd.uscourts.gov/news/coronavirus-covid-19-guidance (last
     accessed January 28, 2022).
                                                   3
     Case 3:21-cr-02627-CAB Document 21 Filed 01/31/22 PageID.64 Page 4 of 4




 1
 2                                      RANDY S. GROSSMAN
                                        United States Attorney
 3
 4
     DATED: January 31, 2022            By /s/ Peter Ko
 5                                      JOANNA M. CURTIS
 6                                      KEVIN J. BUTLER
                                        BILLY JOE MCLAIN
 7                                      Special Assistant United States Attorneys
                                        PETER KO
 8                                      Assistant United States Attorney

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             4
